Case 3:08-cr-03997-JAH       Document 41       Filed 12/19/08      PageID.139       Page 1 of 7




  1
  2
  3
  4
  5
                                 UNITED STATES DISTRICT COURT
  6
  7                         SOUTHERN DISTRICT OF CALIFORNIA

  8                                        (Hon. Peter C. Lewis)

  9   UNITED STATES OF AMERICA,             )           Criminal Case No.:   08CR3997JAH
                                            )           Magistrate Case No.: 08MJ9085
 10                Plaintiff,               )                                08MJ9037
                                            )
 11                                         )
            vs.                             )
 12                                         )           ORDER FOR THE VIDEOTAPE
      MARIA TAMAYO-GALVAN, CARLOS           )           DEPOSITIONS OF THE MATERIAL
 13   RIVAS-VEGA, ALBERTO TAMAYO-           )
                                            )           WITNESSES
 14   RODRIGUEZ                             )
                                            )
 15                Defendant.               )
      _____________________________________ )
 16
 17          Pursuant to the motion of material witnesses Luis Guillen-Asta, Laura Ruiz-Lopez, Jose
 18
      Angel Velasquez-Mendez, Elizabeth Garcia Lovera, Giovanni Diaz-Lopez, and Tomas Rosas-
 19
      Perez [the "Material Witnesses"], by and through their attorneys, Robert E. Schroth Jr. and
 20
 21   Christopher Locke, by appearance of the parties and their respective counsel, and good cause

 22   appearing:
 23
      1.     Unless the Material Witnesses are previously released from custody of both the U.S.
 24
      Marshall and the United States Border Patrol, the Material Witnesses, Susi Santis-Mendez, Luis
 25
      Guillen-Asta, Laura Ruiz-Lopez, Jose Angel Velasquez-Mendez, Elizabeth Garcia-Lovera,
 26
 27   Giovanni Diaz-Lopez, and Tomas Rosas-Perez shall be deposed, commencing on January 7,

 28
                                                    -1-
                            ORDER FOR MATERIAL WITNESS VIDEOTAPED DEPOSITION
                                                                            U. S. v. Tamayo-Galvan et. al.
Case 3:08-cr-03997-JAH        Document 41        Filed 12/19/08     PageID.140          Page 2 of 7




  1   2008 at 9:00 a.m. The deposition will be held at the U.S. Attorney's office in San Diego,
  2   California. An employee of the U.S. Attorney's office shall serve as the videotape operator.
  3
      2.     All parties shall attend the depositions. The arresting agency shall bring the Material
  4
      Witnesses to the deposition and remain present during the proceeding. If the defendant(s) are in
  5
  6   custody, they shall be brought separately to the depositions and a marshal shall remain present

  7   during the entire proceeding.
  8
      3.     The United States Attorney's Office shall arrange for a court-certified interpreter to be
  9
      present for the Material Witnesses, if necessary. The cost of the interpreter for the Material
 10
      Witnesses will be borne by the United States. See 28 U.S.C. § 1827(c)(2).
 11
 12   4.     If a defendant needs an interpreter independent of the Material Witnesses’ interpreter (if

 13   any), defense counsel will arrange for a court-certified interpreter to be present. The cost of a
 14
      separate interpreter shall be paid by the court.
 15
      5.     The U.S. Attorney's Office shall arrange for a certified court reporter to be present. The
 16
 17   court reporter shall stenographically record the testimony and serve as a notary and preside at

 18   the depositions in accordance with Rule 28(a), Fed. R. Civ. P. The cost of the court reporter
 19   shall be borne by the U.S. Attorney's Office.
 20
      6.     The depositions shall be videotape recorded. Prior to the conclusion of each deposition,
 21
      the deponent, or a party, may elect to have the deponent review the videotape record of his
 22
 23   depositions and to note any changes. Any errors or changes, and the reasons for making them,

 24   shall be stated in writing and such writing shall be signed by the deponent(s).
 25   7.     The videotape operator shall select and supply all equipment required to videotape and
 26
      audiotape the depositions and shall determine all matters of staging and technique, such as
 27
      number and placement of cameras and microphones, lighting, camera angle, and background.
 28
                                                         -2-
                             ORDER FOR MATERIAL WITNESS VIDEOTAPED DEPOSITION
                                                                             U. S. v. Tamayo-Galvan et. al.
Case 3:08-cr-03997-JAH        Document 41        Filed 12/19/08      PageID.141       Page 3 of 7




  1   He/she shall determine these matters in a manner that accurately reproduces the appearance of
  2   the witnesses and assures clear reproduction of each witness' testimony and the statements of
  3
      counsel. The witnesses, or any party to the action, may place upon the record any objection to
  4
      the videotape operator’s handling of any of these matters. Such objection shall be considered
  5
  6   by the Court in ruling on the admissibility of the video and/or audiotape record. All such

  7   objections shall be deemed waived unless made promptly after the objector knows, or has
  8
      reasonable grounds to know, of the basis of such objection.
  9
      8.     The Material Witnesses shall be deposed in an order as determined the Assistant United
 10
      States Attorney conducting the depositions for the prosecution.          The deposition shall be
 11
 12   recorded in a fair, impartial, objective manner. The videotape equipment shall be focused on

 13   the witness; however, the videotape operator may from time to time focus upon charts,
 14
      photographs, exhibits or like material being shown to the witness during the deposition.
 15
      9.     Before examination of the witnesses, the notary shall state on the video/audio record:
 16
 17   (a) his/her name and address; (b) the date, time and place of the deposition; (c) the name of the

 18   witness and the caption of the action; and (d) the identity of the parties and the names of all
 19   persons present in the room. The notary shall then swear the witness on the video record.
 20
      Further, at the beginning of the examination by each counsel, the counsel shall identify
 21
      himself/herself and his/her respective client on the record. If more than one videotape is used,
 22
 23   the notary shall repeat items (a), (b) and (c) at the beginning of each new tape.

 24   10.    The videotape operator shall not stop the video recorder after the deposition commences
 25   until it concludes, except, however, that any party may request a cessation for a brief recess,
 26
      which request will be honored unless another party objects and states the basis for said objection
 27
      on the record. Each time the tape is stopped or started, the videotape operator shall announce
 28
                                                     -3-
                            ORDER FOR MATERIAL WITNESS VIDEOTAPED DEPOSITION
                                                                              U. S. v. Tamayo-Galvan et. al.
Case 3:08-cr-03997-JAH         Document 41         Filed 12/19/08       PageID.142        Page 4 of 7




  1   the time on the record. If the deposition requires the use of more than one tape, the end of each
  2   tape and the beginning of the next shall be announced orally on the video record by the
  3
      operator.
  4
      11.     Testimonial evidence objected to shall be recorded as if the objection had been overruled
  5
  6   and the court shall rule on the objections prior to admitting that portion of the deposition. The

  7   party raising the objection(s) shall be responsible for preparing a transcript for the court to
  8
      consider. All objections to the evidence presented shall be deemed waived unless made during
  9
      the deposition.
 10
      12.     If requested by a party, the deposition testimony, if offered other than for impeachment,
 11
 12   may be presented in non-stenographic audio/visual format, in which case no transcript need be

 13   prepared in advance of trial, unless otherwise ordered by the Court. See Fed. R. Civ. P. 32(c).
 14
      13.     Copies of all exhibits utilized during the videotaped deposition shall be marked for
 15
      identification during the deposition and filed along with the videotape.
 16
 17   14.     At the conclusion of each deposition, the Government and defendants will advise the

 18   material witnesses’ attorney if they intend to object to the release of the material witnesses. If
 19   the parties do not object to the witnesses' release, the Government and defense attorney will
 20
      immediately approve an order for the material witnesses' release from custody.                       The
 21
      Government will provide the witnesses with a subpoena for the trial date, a travel advance fund
 22
 23   letter, and written authorization to enter the United States to testify at trial.

 24   15.     If either party objects to the release of the material witnesses, the objecting party must
 25   immediately request in writing a hearing on the issue before the District Court within four
 26
      business hours after the deposition is concluded. At the hearing, the objecting party must be
 27
      prepared to show why the release of the material witnesses is not appropriate under 18 U.S.C. §
 28
                                                        -4-
                             ORDER FOR MATERIAL WITNESS VIDEOTAPED DEPOSITION
                                                                                  U. S. v. Tamayo-Galvan et. al.
Case 3:08-cr-03997-JAH        Document 41        Filed 12/19/08       PageID.143        Page 5 of 7




  1   3144. If, after the hearing, the Court decides to release the material witnesses, the material
  2   witnesses’ attorney should file the witness release order immediately. Again, the Government
  3
      must serve the witnesses with a trial subpoena, a travel fund advance letter, and written
  4
      authorization to legally enter the United States to testify at trial before the material witnesses are
  5
  6   released.

  7   16.    Upon request by either party, the videotape operator shall provide a copy of the
  8
      videotape deposition to the requesting party at the requesting party's expense. After preparing
  9
      the requested copies, if any, the videotape operator shall turn the original videotape over to the
 10
      notary along with a certificate signed by the videotape operator attesting that the videotape is an
 11
 12   accurate and complete record of the deposition.

 13   17.    The notary shall file this original tape, along with the any exhibits offered during the
 14
      deposition, with the Court in a sealed envelope marked with the caption of the case, the name of
 15
      the witness and the date of the deposition. To that envelope, the notary shall attach the sworn
 16
 17   statement that the videotape is accurate and complete record of the recorded deposition and

 18   certification that the witness was duly sworn by the officer.
 19   //
 20
      //
 21
      //
 22
 23   //

 24   //
 25   //
 26
      //
 27
      //
 28
                                                      -5-
                             ORDER FOR MATERIAL WITNESS VIDEOTAPED DEPOSITION
                                                                                U. S. v. Tamayo-Galvan et. al.
Case 3:08-cr-03997-JAH       Document 41        Filed 12/19/08      PageID.144       Page 6 of 7




  1   18.    To the extent that the procedures set forth herein for the videotaping vary from those set
  2   forth in Rules 28 and 30 F. R.Civ. P., these variations are found to be for good cause shown as
  3
      allowed by F. R. Civ. P. 29.
  4
      19.    Unless waived by the parties, the notary must give prompt notice to all parties of the
  5
  6   filing of the videotape record of the deposition with the Court pursuant to Fed.R.Civ.P. 30(f)(3).

  7          It Is So Ordered.
  8
      DATED: December 19, 2008
  9
 10
 11                                                        Peter C. Lewis                         ______

 12                                                        United States Magistrate Judge
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                     -6-
                            ORDER FOR MATERIAL WITNESS VIDEOTAPED DEPOSITION
                                                                             U. S. v. Tamayo-Galvan et. al.
Case 3:08-cr-03997-JAH   Document 41   Filed 12/19/08   PageID.145   Page 7 of 7




  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                           -7-
